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11   in interest, ROSA LOPEZ CRUZ, and ROSA LOPEZ CRUZ, ESTELLA CHAVEZ CRUZ,
     D.D.P.L., and S.S.P.L. individually.
12

13
                                      UNITED STATES DISTRICT COURT
14

15                                   NORTHERN DISTRICT OF CALIFORNIA

16

17
     ESTATE OF DAVID PELÁEZ CHAVEZ, by               Case No.
18   and through successor in interest, ROSA
     LOPEZ CRUZ, and ROSA LOPEZ CRUZ,                COMPLAINT FOR DAMAGES
19
     ESTELLA CHAVEZ CRUZ, D.D.P.L.,
20   S.S.P.L., individually.,                           1.   EXCESSIVE FORCE
                                                        2.   LOSS OF FAMILIAL ASSOCIATION
21                     Plaintiffs,                      3.   MUNICIPAL LIABILITY
                                                        4.   WRONGFUL DEATH/
22                                                           NEGLIGENCE/NEGLIGENCE PER SE
                  v.
23                                                           (42 U.S.C. SECTION 1983 AND PENDENT
     COUNTY OF SONOMA, MICHAEL
                                                             STATE CLAIMS)
24   DIETRICK and DOES 1-25, inclusive.

25                     Defendants.                   JURY TRIAL DEMAND

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28

                                           COMPLAINT FOR DAMAGES
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                                                          1
                                                                      COME NOW PLAINTIFFS, ESTATE OF DAVID PELÁEZ CHAVEZ, by and through
                                                          2
                                                              successor in interest, ROSA LOPEZ CRUZ, and ROSA LOPEZ CRUZ, ESTELLA CHAVEZ
                                                          3
                                                              CRUZ, D.D.P.L., and S.S.P.L. individually, who complain of defendants, and each of them, and
                                                          4
                                                              alleges as follows:
                                                          5
                                                                                                         INTRODUCTION
                                                          6
                                                                 1.      This civil rights action arises out of the killing of David Peláez Chavez, a 36-year-old
                                                          7
                                                              migrant worker who, in the midst of crisis and a threat to no one, was shot three times by Sonoma
                                                          8
                                                              County Sheriff’s Deputy Michael Dietrick.
                                                          9
                                                                 2.      David was a loving husband to his wife, Rosa, a cherished son to his mother, Estella,
                                                         10
                                                              and a proud father to his son D.D.P.L. and daughter S.S.P.L. His death has been an immeasurable
                                                         11
                                                              loss to those who loved him and relied upon him.
                     130 P ETALUMA A VENUE , S UITE 1A
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                                                         12
                                                                 3.      Deputy Michael Dietrick is the Sonoma County deputy sheriff who shot and killed
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                                                         13
                                                              David. He was hired by the Sonoma County Sheriff in 2017, following his departure from the
                                                         14
                                                              Clearlake Police Department in the wake of another on-duty shooting.
                                                         15
                                                                                                    JURISDICTION & VENUE
                                                         16
                                                                 4.      This action is brought pursuant to 42 U.S.C. §§ 1983 and the Fourth and Fourteenth
                                                         17
                                                              Amendments to the United States Constitution. Jurisdiction is based upon 28 U.S.C. §§ 1331 and
                                                         18
                                                              1343.
                                                         19      5.      The claims alleged herein arose in the County of Sonoma in the State of California.
                                                         20   Venue for this action lies in the United States District Court for the Northern District of
                                                         21   California under 28 U.S.C. § 1391(b)(2).
                                                         22      6.      Pursuant to Gov. Code Sec. 910, six-months tort claims were timely submitted to the
                                                         23   County of Sonoma on August 17, 2022.
                                                         24      7.      With respect to Plaintiffs’ supplemental state claims, Plaintiffs request that this court
                                                         25   exercise supplemental jurisdiction over such claims as they arise from the same facts and
                                                         26   circumstances which underlie the federal claims.
                                                         27

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                                                                                                    COMPLAINT FOR DAMAGES
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                                                          1
                                                                                                            PARTIES
                                                          2
                                                                 8.      David Peláez Chavez was an individual residing in Lake County, California. The
                                                          3
                                                              claims made by the ESTATE OF DAVID PELÁEZ CHAVEZ, are brought by ROSA LOPEZ
                                                          4
                                                              CRUZ, the successor in interest to the Estate of David Peláez Chavez pursuant to California Code
                                                          5
                                                              of Civil Procedure § 377.32.
                                                          6
                                                                 9.      Plaintiff ROSA LOPEZ CRUZ is a resident of Putla Villa de Guerrero, Oaxaca,
                                                          7
                                                              Mexico, and is the lawful wife of David Peláez Chavez. Plaintiff Rosa Lopez Cruz brings these
                                                          8
                                                              claims individually for wrongful death and violation of her personal rights, as successor in
                                                          9
                                                              interest to Decedent David Peláez Chavez, asserting survival claims for David Peláez Chavez,
                                                         10
                                                              and as the representative of the Estate of her slain husband. She brings these claims under state
                                                         11
                                                              and federal law.
                     130 P ETALUMA A VENUE , S UITE 1A
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                                                         12
                                                                 10.     Plaintiff D.D.P.L., a minor, is the natural son of David Peláez Chavez and a resident of
                           S EBASTOPOL , CA 95472




                                                         13
                                                              Putla Villa de Guerrero, Oaxaca, Mexico. Plaintiff D.D.P.L., by and through his mother and Next
                                                         14
                                                              Friend Rosa Lopez Cruz, brings these claims individually for wrongful death and violation of his
                                                         15
                                                              personal rights, and as successor in interest to Decedent David Peláez Chavez, asserting survival
                                                         16
                                                              claims for David Peláez Chavez. He brings these claims under state and federal law.
                                                         17
                                                                 11.     Plaintiff S.S.P.L., a minor, is the natural daughter of David Peláez Chavez and a
                                                         18
                                                              resident of Putla Villa de Guerrero, Oaxaca, Mexico. Plaintiff S.S.P.L., by and through her
                                                         19   mother and Next Friend Rosa Lopez Cruz, brings these claims individually for wrongful death
                                                         20   and violation of her personal rights, and as successor in interest to Decedent David Peláez
                                                         21   Chavez, asserting survival claims for David Peláez Chavez. She brings these claims under state
                                                         22   and federal law.
                                                         23      12.     Plaintiff ESTELLA CHAVEZ CRUZ is a resident of Putla Villa de Guerrero, Oaxaca,
                                                         24   Mexico, and is the natural mother of David Peláez Chavez. Plaintiff Estealla Chavez Cruz brings
                                                         25   these claims individually for violation of her personal rights.
                                                         26      13.     Defendant COUNTY OF SONOMA is a public entity situated in the State of
                                                         27   California and organized under the laws of the State of California. Defendant COUNTY OF
                                                         28
                                                                                                               -2-
                                                                                                    COMPLAINT FOR DAMAGES
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                                                          1
                                                              SONOMA is responsible for the actions, omissions, policies, procedures, practices and customs
                                                          2
                                                              of its various agents and agencies. At all times relevant to the facts alleged herein, Defendant
                                                          3
                                                              COUNTY OF SONOMA was responsible for assuring that the acts, omissions, policies,
                                                          4
                                                              procedures, practices and customs of its employees complied with the laws and the Constitutions
                                                          5
                                                              of the United States and of the State of California.
                                                          6
                                                                 14.     The Sonoma County Sheriff’s Office is a subdivision of Defendant County of
                                                          7
                                                              Sonoma.
                                                          8
                                                                 15.     At all relevant times, Defendant MICHAEL DIETRICK was a deputy sheriff and
                                                          9
                                                              employee of the County of Sonoma.
                                                         10
                                                                 16.     The true names and capacities, whether individual, corporate, associate or otherwise,
                                                         11
                                                              of defendants DOES 1 through 25 inclusive, are unknown to the Plaintiffs, who therefore sue said
                     130 P ETALUMA A VENUE , S UITE 1A
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                                                         12
                                                              defendants by such fictitious names. Defendants DOES 1 through 25, and each of them, were
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                                                         13
                                                              responsible in some manner for the injuries and damages alleged herein. Plaintiffs are informed
                                                         14
                                                              and believe and thereupon alleges upon information and belief that each of them is responsible, in
                                                         15
                                                              some manner, for the injuries and damages alleged herein.
                                                         16
                                                                 17.     In doing the acts and/or omissions alleged herein, the individual defendants, including
                                                         17
                                                              DOES 1 through 25, acted in concert with each of said other defendants herein.
                                                         18
                                                                 18.     At all relevant times, Michael Dietrick acted under color of state law in the course and
                                                         19   scope of his duties as an agent and employee of the County of Sonoma.
                                                         20      19.     Each of the Defendants caused and is responsible for the unlawful conduct resulting in
                                                         21   the death of David Peláez Chavez by personally participating in the conduct, or acting jointly and
                                                         22   in concert with others who did so; or by authorizing, acquiescing or failing to take action to
                                                         23   prevent the unlawful conduct; or by promulgating policies and procedures pursuant to which the
                                                         24   unlawful conduct occurred; or by failing and refusing to initiate and maintain adequate
                                                         25   supervision, discipline, hiring, and/or training.
                                                         26

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                                                                                                     COMPLAINT FOR DAMAGES
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                                                          1
                                                                                                     STATEMENT OF FACTS
                                                          2
                                                                 20.       David Peláez Chavez was thirty-six years old when he was killed by Sonoma County
                                                          3
                                                              Deputy Sheriff Michael Dietrick. David was a migrant worker from Mexico who left home to
                                                          4
                                                              find a better future for his family. He worked in the vineyards of California’s wine country and as
                                                          5
                                                              a skilled tradesman, scraping together a living and sending his paychecks back to his family in
                                                          6
                                                              Mexico. David was a beloved husband, loving father, and cherished son.
                                                          7
                                                                 21.       On the morning of July 29, 2022, Sonoma County Sheriff’s deputies were dispatched
                                                          8
                                                              to a rural area near Geyserville after receiving a report that an unidentified barefoot man had
                                                          9
                                                              thrown a rock through a house window. After being confronted by area residents, the man fled in
                                                         10
                                                              a truck that belonged to one of the resident’s gardener. The barefoot man was David Peláez
                                                         11
                                                              Chavez.
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                                                         12
                                                                 22.       Deputy Dietrick arrived on scene and questioned the property owner who advised that
                           S EBASTOPOL , CA 95472




                                                         13
                                                              David had taken the truck and driven off erratically. He advised Dietrick that there was no way
                                                         14
                                                              out of the area into which the man had fled.
                                                         15
                                                                 23.       Dietrick followed after David in his patrol vehicle, and in a few moments came across
                                                         16
                                                              a neighbor who advised that David had driven through his gates and was at a nearby home.
                                                         17
                                                              Dispatch advised Dietrick that another reporting party had called to say that David had fled down
                                                         18
                                                              a hill, and that he was at a nearby home. By the time the deputy arrived at the home, David had
                                                         19   already left. The neighbor offered Dietrick a ride in his side-by-side off road vehicle. As the two
                                                         20   drove in the direction David had fled, the neighbor explained to Dietrick that he had tried to get
                                                         21   David to sit down, but that David looked worried and said that somebody was trying to kill him.
                                                         22      24.       The two shortly encounter Deputy Anthony Powers who joined them in the side-by-
                                                         23   side. The search continued over rugged terrain and through the adjoining vineyards for several
                                                         24   minutes. Powers commented to Dietrick, “This guy really seems like he’s on one.” Dietrick
                                                         25   replied, “Fuck yeah, dude,” and then commented, “He has travelled some fucking distance.
                                                         26   Barefoot.”
                                                         27

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                                                                                                    COMPLAINT FOR DAMAGES
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                                                          1
                                                                  25.     The deputies arrived at another residence and contacted the occupant, who said that
                                                          2
                                                              someone had stolen one of his ATVs and left a gate open. Dietrick radioed to dispatch his
                                                          3
                                                              location, and that the gate to the property was open allowing other deputies to respond. The
                                                          4
                                                              deputies quickly located fresh tracks from the ATV and followed them on the side-by-side further
                                                          5
                                                              into the hills, but after a few minutes they lost site of the trail. The deputies were advised that
                                                          6
                                                              backup had arrived at the residence they had just left.
                                                          7
                                                                  26.     “I wonder if he came up here, realized this went to nothing, and then went back
                                                          8
                                                              down,” said Powers. Their civilian driver replied, “You’re going into your inner meth head.” All
                                                          9
                                                              three laughed and followed the tracks back down the hill where they found another open gate and
                                                         10
                                                              picked up a new set of tracks through rough terrain. “This guy’s gotta be crazy,” said the driver.
                                                         11
                                                                  27.     A few moments later, the deputies found the stolen ATV abandoned with its engine
                     130 P ETALUMA A VENUE , S UITE 1A
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                                                         12
                                                              running. David was not there. The deputies dismounted and proceeded on foot along a livestock
                           S EBASTOPOL , CA 95472




                                                         13
                                                              trail, and then toward the crest of the hill.
                                                         14
                                                                  28.     Powers proceeded to the top of the hill for a better view, and Dietrick split off to lower
                                                         15
                                                              terrain. The area was wide open rural rangeland with unobstructed views for hundreds of yards.
                                                         16
                                                              Rock outcroppings and trees dotted the horizon. There were no houses, structures or people
                                                         17
                                                              anywhere.
                                                         18
                                                                  29.     After a few minutes, Powers found footprints in the dirt, then spotted David ahead. He
                                                         19   radioed to Dietrick, “I have eyes on. He’s at the top of the hill. His back’s towards me. He’s
                                                         20   taking a break right now. I’m sneaking up on him.” Dietrick responded, “Copy, I’m trying to
                                                         21   make it to you,” as he huffed up the hillside. “Fuck me. Shit.” Dietrick wheezed, as he stopped to
                                                         22   catch his breath. Dietrick took a few more steps, then stopped again winded, then started again,
                                                         23   then stopped, bent-over and struggling to breathe.
                                                         24       30.     Ahead, Powers crouched down and radioed his location to dispatch. He reported that
                                                         25   David was holding a hammer in one hand, and “maybe a hatchet” in the other. Powers said David
                                                         26   was “super tired. He keeps bending over.”
                                                         27

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                                                                                                      COMPLAINT FOR DAMAGES
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                                                                 31.     “I’m right behind you, Powers,” Dietrich breathed heavily into his radio. “You want
                                                          2
                                                              me to come up further?” “Yeah,” responded Powers. “He’s kind of facing to the south right now,
                                                          3
                                                              leaning up against a rock. Do you see me laying down?” “I can see you, just not him,” Dietrick
                                                          4
                                                              responded. “He’s directly in front of me,” said Powers. “I’d say about fifty yards.”
                                                          5
                                                                 32.     David moaned loudly as Dietrick closed the distance to Powers. Over the radio,
                                                          6
                                                              Powers guided backup deputies toward their position. David began yelling in Spanish.
                                                          7
                                                                 33.     “Alright, he sees us,” said Powers, and rose to his feet. “Mi amigo!” yelled Dietrick.
                                                          8
                                                              “No problemas! Come on!” “Abajo!” yelled Powers, ordering David to come down in broken
                                                          9
                                                              Spanish. “Abajo!”
                                                         10
                                                                 34.     “Por favor!” screamed David in fear.
                                                         11
                                                                 35.     “Agua?” the deputies yelled out.
                     130 P ETALUMA A VENUE , S UITE 1A
SCHWAIGER LAW FIRM




                                                         12
                                                                 36.     “Ustedes me van matar!” David called out, and turned to run, disappearing over the
                           S EBASTOPOL , CA 95472




                                                         13
                                                              crest of the hill. If the deputies understood Spanish, they would have known David was saying,
                                                         14
                                                              “You guys are going to kill me.” But his words had no meaning to them.
                                                         15
                                                                 37.     The deputies gave chase, following after David down the other side of the hill and into
                                                         16
                                                              a steep and overgrown creek bed. About this time, the Sheriff’s helicopter, Henry-1, arrived and
                                                         17
                                                              began circling overhead. With backup following behind them, the terrain boxing David in, and
                                                         18
                                                              with support from the air, David could not escape.
                                                         19      38.     After approximately ten minutes Powers caught up to David. Powers attempted to
                                                         20   speak to David in broken Spanish. “Senor! Fuckin’, no mas! Aqui, por favor! No problemo!”
                                                         21      39.     David was standing in the shallow creek with a hammer and small garden tiller in one
                                                         22   hand, waiving his hands over his head at the helicopter circling above, and screaming for help.
                                                         23   “Senor! Put the fucking shit down! No mas!” Powers called out as David turned and began
                                                         24   walking further down the creek. Powers tried to re-engage David in dialogue, attempting to talk
                                                         25   about his family. David responded, “Si. Ya les llame. Esque no erea mi nombre. Marque le otra
                                                         26   ves, para confirmar que no me contestan.” (Yes, I called them. It’s because it’s not my name. (I
                                                         27

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                                                                                                   COMPLAINT FOR DAMAGES
                                                                Case 4:22-cv-06715-DMR Document 1 Filed 10/31/22 Page 8 of 15



                                                          1
                                                              need to) dial again to confirm that they don’t answer.) Though Powers could not understand
                                                          2
                                                              David, it was clear that he was in an altered mental state.
                                                          3
                                                                 40.     Powers followed after David down the creek, still attempting to engage him in
                                                          4
                                                              conversation without success. David crossed out of the shallow water and onto dry ground. He
                                                          5
                                                              began waving his arms again at the helicopter. As Powers approached, he drew his taser and
                                                          6
                                                              pointed it at David. David bent over and picked up a rock from the stony bank. Powers quickly
                                                          7
                                                              backed away, creating distance between himself and David. “No mas! No mas!” Powers called
                                                          8
                                                              out, but David turned and walked away.
                                                          9
                                                                 41.     Meanwhile, Deputy Dietrick had worked his way behind David. As David walked
                                                         10
                                                              away from Powers, Dietrick intercepted him. “Drop it!” Dietrick yelled, pointing his service
                                                         11
                                                              handgun at David. “Drop it now!”
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                                                         12
                                                                 42.     David raised his hands toward the helicopter and yelled at the sky. “Put it down!”
                           S EBASTOPOL , CA 95472




                                                         13
                                                              commanded Dietrick. David waved at the helicopter and kept yelling. “Put it down!” yelled
                                                         14
                                                              Dietrick. “Ustedes me quieren matar!” (You guys want to kill me!) Exhausted, David dropped the
                                                         15
                                                              stone and bent over with his hands on his knees, trying to catch his breath.
                                                         16
                                                                 43.     Deputy Powers scrambled out of the creek bed to David’s position in time to see
                                                         17
                                                              Deputy Dietrick pointing his handgun at David from uphill, about twenty feet away. “Hey!”
                                                         18
                                                              called out Powers as he approached with his Taser drawn, but his gun holstered. David turned to
                                                         19   Powers, then stooped over again. “Put it down!” yelled Dietrick. Before he had completed his
                                                         20   own words, Sonoma County Sheriff’s Deputy Michael Dietrick fired three rounds into David’s
                                                         21   body. One round entered David’s chest, another into his arm, and the third into his brain. Near
                                                         22   simultaneously, Powers fired his Taser at David, a non-lethal and appropriate response to the
                                                         23   situation. But Powers’ good tactics and discretion was for nothing, as David lay bleeding to death
                                                         24   on the rocks. He died at the bottom of that ravine, alone and afraid.
                                                         25      44.     David’s death was unnecessary. While his behavior was strange and erratic, he posed
                                                         26   no more than a hypothetical threat to anyone. Despite his bizarre behavior, at no time did he try to
                                                         27   hurt a soul. He was plainly in an altered mental state – whether because of drugs or because of a
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                                                                                                    COMPLAINT FOR DAMAGES
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                                                          1
                                                              mental health crisis is unknown at this time. He was barefoot, exhausted, and had nowhere to go.
                                                          2
                                                              Time and distance were on the deputies’ side. Deadly force simply was not an option.
                                                          3
                                                                                                  STATEMENT OF DAMAGES
                                                          4
                                                                 45.     As a result of the acts and/or omissions alleged herein, Plaintiff David Peláez Chavez,
                                                          5
                                                              bringing this action by and through his Estate, suffered general damages including extreme and
                                                          6
                                                              severe fear, pain and suffering in an amount to be determined according to proof.
                                                          7
                                                                 46.     As a result of the acts and/or omissions alleged herein, Plaintiff Rosa Lopez Cruz was
                                                          8
                                                              deprived of familial association with her husband, including the loss of his love, affection,
                                                          9
                                                              comfort, society, consortium, services, solace, moral support, and economic support in an amount
                                                         10
                                                              to be determined according to proof.
                                                         11
                                                                 47.     As a result of the acts and/or omissions alleged herein, Plaintiffs D.D.P.L. and
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                                                              S.S.P.L. were deprived of familial association with their father, including loss of his love,
                           S EBASTOPOL , CA 95472




                                                         13
                                                              affection, comfort, society, services, solace, moral support, and economic support in an amount to
                                                         14
                                                              be determined according to proof.
                                                         15
                                                                 48.     As a result of the acts and/or omissions alleged herein, Estella Chavez Cruz was
                                                         16
                                                              deprived of familial association with her son, including loss of his love, affection, comfort,
                                                         17
                                                              society, services, solace, moral support, and economic support in an amount to be determined
                                                         18
                                                              according to proof.
                                                         19      49.     All plaintiffs suffered immeasurable pain and suffering, including emotional distress.
                                                         20   David’s survivors suffered funeral and burial expenses, including the cost of the repatriation of
                                                         21   David’s remains to Mexico.
                                                         22      50.     The acts and omissions of Defendants Micheal Dietrick and Does 1-25 were willful,
                                                         23   wanton, reckless, malicious, oppressive and/or done with a conscious or reckless disregard for the
                                                         24   rights of Plaintiffs. Plaintiffs therefore pray for an award of punitive and exemplary damages
                                                         25   against these defendant in an amount according to proof.
                                                         26      51.     Plaintiffs have retained private counsel to represent them in this matter and are entitled
                                                         27   to an award of attorneys’ fees and costs.
                                                         28
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                                                                                                     COMPLAINT FOR DAMAGES
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                                                          1
                                                                                                     CAUSES OF ACTION
                                                          2                                        FIRST CAUSE OF ACTION
                                                                                 [42 U.S.C. §1983 – EXCESSIVE FORCE – DEFENDANT DIETRICK]
                                                          3
                                                                  52.      Plaintiff hereby alleges and incorporates by reference as though fully set forth herein
                                                          4
                                                              all prior paragraphs of this Complaint.
                                                          5
                                                                  53.      Defendant Dietrick violated David’s clearly established right to be free from excessive
                                                          6
                                                              and unreasonable force as guaranteed by the Fourth Amendment to the United States
                                                          7
                                                              Constitution.
                                                          8
                                                                  54.      An objectively reasonable officer would have known that the use of excessive,
                                                          9
                                                              unreasonable, and deadly force on David would cause severe and excruciating pain and suffering,
                                                         10
                                                              and result in his death.
                                                         11
                     130 P ETALUMA A VENUE , S UITE 1A




                                                                  55.      Defendant Dietrick acted willfully, wantonly, maliciously, oppressively, and with
SCHWAIGER LAW FIRM




                                                         12
                           S EBASTOPOL , CA 95472




                                                              conscious disregard to David’s rights.
                                                         13
                                                                  56.      Defendant Dietrick’s misconduct caused David to suffer excruciating pain and fear
                                                         14
                                                              before he died.
                                                         15
                                                                        WHEREFORE, Plaintiff Estate of David Peláez Chavez prays for relief as hereinafter set
                                                         16
                                                              forth.
                                                         17

                                                         18                                      SECOND CAUSE OF ACTION
                                                                       [42 U.S.C. §1983 – DEPRIVATION OF FAMILIAL ASSOCIATION – DEFENDANT DIETRICK]
                                                         19
                                                                  57.      Plaintiffs hereby re-allege and incorporate by reference as though fully set forth herein
                                                         20
                                                              all prior paragraphs of this Complaint.
                                                         21
                                                                  58.      By and through the acts and omissions alleged herein, Defendant Dietrick deprived
                                                         22
                                                              Rosa Lopez Cruz of the familial relationship with her husband, Estella Chavez Cruz of the
                                                         23
                                                              familial association of her son, and D.D.P.L. and S.S.P.L. of the familial association of their
                                                         24
                                                              father, thereby violating these plaintiffs’ rights under the First and Fourteenth Amendments to the
                                                         25
                                                              Constitution of the United States.
                                                         26

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                                                                                                     COMPLAINT FOR DAMAGES
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                                                                  59.      Defendant Dietrick knowingly, maliciously, and with conscious and reckless disregard
                                                          2
                                                              for the rights and safety of Plaintiffs, acted with deliberate indifference and/or a purpose to harm
                                                          3
                                                              David.
                                                          4
                                                                        WHEREFORE, Plaintiffs Rosa Lopez Cruz, Estella Chavez Cruz, D.D.P.L., and S.S.P.L
                                                          5
                                                              pray for relief as hereinafter set forth.
                                                          6
                                                                                              THIRD CAUSE OF ACTION
                                                          7    [42 U.S.C. §1983 – MUNICIPAL LIABILITY FOR UNCONSTITUTIONAL CUSTOMS AND PRACTICES –
                                                                                          DEFENDANT COUNTY OF SONOMA]
                                                          8
                                                                  60.      Plaintiffs hereby re-allege and incorporate through reference all prior paragraphs of
                                                          9
                                                              the Complaint.
                                                         10
                                                                  61.      Through its final policymakers the County of Sonoma, acting with deliberate
                                                         11
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                                                              indifference to the rights of David and his family, and of the public in general, knowingly
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                                                              maintained, enforced, and applied customs and practices of:
                                                         13
                                                                           a. Encouraging, accommodating, or ratifying deputies use of excessive,
                                                         14
                                                                               unreasonable, and sometimes deadly force;
                                                         15
                                                                           b. Encouraging, accommodating, or facilitating a code of silence among deputies,
                                                         16
                                                                               employees, and supervisors, pursuant to which false reports were generated,
                                                         17
                                                                               excessive and unreasonable force was covered up, whistleblowers were punished,
                                                         18
                                                                               internal investigations were performed with predetermined outcomes, and
                                                         19
                                                                               documented instances of perjury and dishonesty were ignored. Sonoma County
                                                         20
                                                                               deputy sheriffs were aware of these policies, and aware that they would be
                                                         21
                                                                               protected from discipline for any use of force, no matter how excessive. In its
                                                         22
                                                                               entire history, no deputy within the Sonoma County Sheriff’s Office has ever
                                                         23
                                                                               reported another for the use of excessive force. No deputy has ever been
                                                         24
                                                                               disciplined for failure to report excessive force. No deputy has ever been
                                                         25
                                                                               disciplined for writing a false report. No deputy has ever been disciplined for
                                                         26
                                                                               using excessive force. And no shooting has ever been found to have violated
                                                         27
                                                                               department policy.
                                                         28
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                                                          1
                                                                           c. Employing and retaining deputies such as Dietrick with problematic histories such
                                                          2
                                                                              as Dietrick who the County knew or in the exercise of reasonable care should have
                                                          3
                                                                              known were violent, abused their authority, and mistreated members of the public;
                                                          4
                                                                           d. Inadequately supervising, training, and disciplining deputies including Dietrick,
                                                          5
                                                                              who the County knew or in the exercise of reasonable care should have known
                                                          6
                                                                              were violent, abused their authority, and mistreated members of the public;
                                                          7
                                                                           e. Maintaining grossly inadequate procedures for reporting, supervising,
                                                          8
                                                                              investigating, reviewing, disciplining and controlling the reckless and intentional
                                                          9
                                                                              misconduct by deputies;
                                                         10
                                                                 62.       By reason of the aforementioned customs and practices, David Peláez Chavez was
                                                         11
                                                              grievously injured and subjected to unbearable and excruciating pain and suffering, and
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                                                         12
                                                              ultimately killed.
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                                                         13
                                                                 63.       The County of Sonoma through officials unnamed had actual or constructive
                                                         14
                                                              knowledge of the constitutionally deficient customs and practices alleged above. But despite this
                                                         15
                                                              knowledge, the County of Sonoma accepted and condoned these illegal customs and practices,
                                                         16
                                                              thereby ratifying them, and acted with deliberate indifference to the foreseeable effects and
                                                         17
                                                              consequences of these policies with respect to rights of David, his family, and to the general
                                                         18
                                                              public.
                                                         19      64.       These customs and practices were so closely related to the deprivation of Plaintiffs’
                                                         20   rights as to be the moving force that caused the ultimate injuries to David Peláez Chavez and his
                                                         21   family.
                                                         22      65.       By reason of the aforementioned acts and omissions, David Peláez Chavez was
                                                         23   needlessly killed and his family caused to suffer the irreparable loss of his love, affection, society,
                                                         24   and support as detailed elsewhere herein.
                                                         25             WHEREFORE, Plaintiffs Estate of David Peláez Chavez, Rosa Lopez Cruz, Estella
                                                         26   Chavez Cruz, D.D.P.L., and S.S.P.L pray for relief as hereinafter set forth.
                                                         27

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                                                          1
                                                                                                   PENDENT STATE CLAIM
                                                          2                                        FOURTH CAUSE OF ACTION
                                                          3     [WRONGFUL DEATH/NEGLIGENCE/NEGLIGENCE PER SE – DEFENDANTS COUNTY OF SONOMA,
                                                          4                              DIETRICK, AND DOES 1-25]
                                                                 66.     Plaintiffs hereby re-allege and incorporate through reference all prior paragraphs of
                                                          5
                                                              the Complaint.
                                                          6
                                                                 67.     Defendant Dietrick, while working in the course and scope of his employment as a
                                                          7
                                                              Sonoma County deputy sheriff, employed negligent tactics and intentionally and/or without due
                                                          8
                                                              care killed David Peláez Chavez. David’s death directly resulted from Dietrick’s unsafe,
                                                          9
                                                              improper, unnecessary, and negligent tactics, and as a result of these intentional and negligent
                                                         10
                                                              acts, David Peláez Chavez suffered serious injuries and ultimately died. Defendant Dietrick
                                                         11
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                                                              lacked any reasonable justification for killing David Peláez Chavez.
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                                                                 68.     Defendant Dietrick owed David the duty to act with due care in the execution and
                                                         13
                                                              enforcement of any right, law, or legal obligation. He owed David’s family the duty to act with
                                                         14
                                                              reasonable care.
                                                         15
                                                                 69.     These general duties of reasonable and due care owed to Plaintiffs include but are not
                                                         16
                                                              limited to the following specific obligations:
                                                         17
                                                                         a. A duty to refrain from using excessive and/or unreasonable force against David
                                                         18
                                                                               Peláez Chavez;
                                                         19
                                                                         b. A duty to refrain from unreasonably creating a situation where force, including but
                                                         20
                                                                               not limited to deadly force is used;
                                                         21
                                                                         c. A duty to refrain from the unnecessary use of deadly force;
                                                         22
                                                                         d. A duty to refrain from abusing the authority granted him by law;
                                                         23
                                                                         e. A duty to refrain from violating Plaintiffs’ rights as guaranteed by the United
                                                         24
                                                                               States and California Constitutions, as set forth above, and as otherwise provided
                                                         25
                                                                               by law.
                                                         26

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                                                          1
                                                                 70.     Additionally, the general duties of reasonable care and due care were owed to the
                                                          2
                                                              Plaintiffs by the County of Sonoma (acting through its responsible employees and agents,
                                                          3
                                                              including DOES 1-25), and include but are not limited to the following specific obligations:
                                                          4
                                                                         a. A duty to properly and adequately hire, investigate, train supervise, monitor,
                                                          5
                                                                             evaluate, and discipline SCSO deputies under their supervision, including Deputy
                                                          6
                                                                             Dietrick, to ensure that those employees act at all times in the public interest and in
                                                          7
                                                                             conformance with the law;
                                                          8
                                                                         b. A duty to make, enforce, and at all times act in conformance with constitutionally
                                                          9
                                                                             sound policies, training, and customs to protect the rights of the public, and
                                                         10
                                                                             Plaintiffs specifically;
                                                         11
                                                                         c. A duty to refrain from making, enforcing, and/or tolerating the wrongful
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                                                         12
                                                                             procedures, training, and customs set forth in Para. 60.
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                                                         13
                                                                 71.     Defendants, through their acts and omissions, breached each and every one of the
                                                         14
                                                              aforementioned duties owed to Plaintiffs.
                                                         15
                                                                 72.     Dietrick’s actions were further in direct violation of Cal. Pen. Code Sec. 243(d),
                                                         16
                                                              battery causing serious bodily injury.
                                                         17
                                                                 73.     Dietrick’s actions were further in direct violation of Cal. Pen. Code Sec. 245(a)(2),
                                                         18
                                                              assault with a deadly weapon.
                                                         19      74.     Dietrick’s actions were further in direct violation of Cal. Pen. Code Sec. 245(a)(4),
                                                         20   assault with force likely to cause great bodily injury.
                                                         21      75.     Dietrick’s actions were further in direct violation of Cal. Pen. Code Sec. 245(b),
                                                         22   assault with a semiautomatic firearm.
                                                         23      76.     Dietrick’s actions were further in direct violation of Cal. Pen. Code Sec. 192(a),
                                                         24   voluntary manslaughter, 192(b), involuntary manslaughter, and/or 187(a), murder in the second
                                                         25   degree.
                                                         26      77.     The violations of these laws were a substantial factor in causing the death of David
                                                         27   Peláez Chavez.
                                                         28
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                                                          1
                                                                 78.        The County of Sonoma is vicariously liable for the unlawful acts and omissions of
                                                          2
                                                              Michael Dietrick as alleged herein.
                                                          3
                                                                       WHEREFORE, Plaintiffs Estate of David Peláez Chavez, Rosa Lopez Cruz, Estella
                                                          4
                                                              Chavez Cruz, D.D.P.L., and S.S.P.L pray for relief as hereinafter set forth.
                                                          5
                                                                                                        PRAYER FOR RELIEF
                                                          6
                                                                       Plaintiffs pray for relief as follows:
                                                          7
                                                                       1.      For compensatory and economic damages according to proof;
                                                          8
                                                                       2.      For general damages according to proof;
                                                          9
                                                                       3.      For an award of exemplary or punitive damages against the individual defendants;
                                                         10
                                                                       4.      For an award of attorneys’ fees and costs as permitted by law; and
                                                         11
                                                                       5.      For such other and further relief as the Court may deem necessary and appropriate.
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                                                                                                      JURY TRIAL DEMANDED
                                                         13
                                                                       Plaintiffs hereby request a jury trial on all issues so triable.
                                                         14

                                                         15
                                                              Dated: October 31, 2022                                      SCHWAIGER LAW FIRM
                                                         16

                                                         17                                                                By: Izaak D. Schwaiger__
                                                                                                                                Izaak D. Schwaiger
                                                         18
                                                                                                                                Attorney for Plaintiffs
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